2:17-cv-00194-kjd Document140-15 Filed 03/06/20 Pagei1of2

EXHIBIT 13
2:17-cv-00194-kjd Document 140-15‘ Filed

/o6/SXHIBIT,.. 2 d

EXHIBIT ,_/
WIT:

DATE:

From: Misty M. Blanchette Porter [/O=DARTMOUTH HITCHCOCK MEDICA Cynthia Foster, RPR, LCR
CENTER/OU=DHMC/CN=RECIPIENTS/CN=MISTYP] me SEE

Sent: 5/8/2017 9:11:24 AM

To: Misty Blanchette Porter [mbporter@me.cam]

Subject: FW: Thank you and Op Nate

From: Maria D. Padin

Sent: Tuesday, April 11, 20317 11:21 AM .
To: Misty M. Blanchette Porter <Misty.M.Blanchette. Porter @hitchcock.org>
Subject: RE: Thank you and Op Note

Misty
You are a talented surgeon. Thanks for inviting me to your case,
Maria

From: Misty M. Blanchette Porter

Sent: Tuesday, April 11, 2017 10:12 AM

To: Maria D, Padin <Maria,D.Padin@hitchcock.ore>
Subject: Thank you and Op Note

Maria,
Thank you again for proctoring, and for your kind encouragement.
| dictated the OP report (please let me know if the report needs signature),

The documentation may come back to you since you are the proctoring provider. Please let me know and | will review
and sign. .

Regards,

MBP

DH0013886
